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                                     UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS DALLAS DIVISION
 UNITED STATES OF AMERICA                                                  §      JUDGMENT               IN A CRIMINAL CASE
                                                                           §
 Vv.                                                                       §
                                                                           §      Case Number: 3:19-CR-00452-X(1)
 BRIAN CARPENTER                                                           §      USM Number: 59326-177
                                                                           §      Robert T. Jarvis/Alexandra Hunt/Daniel Hagood
                                                                                  Defendant’s Attorney
                                                                           §
THE DEFENDANT:
 O | pleaded guilty to count(s)
 g     pleaded guilty to count(s) before a U.S. Magistrate
       Judge, which was accepted by the court.
       pleaded nolo contendere to count(s) which was
 0     accepted by the court
                                                                  Counts one, two, three, four, five, six and seven of the Indictment,
       was found guilty on count(s) after a plea of not guilty
XK




                                                                  filed on September 11, 2019.

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                     Offense Ended             Count
 18 U.S.C. § 1349 (18 U.S.C. § 1347): Conspiracy to Commit Health Care Fraud                             01/31/2017




                                                                                                                                me
 18 U.S.C. §§ 1347 and 2: Health Care Fraud                                                              02/27/2015




                                                                                                                                  ER WH
                                                                                                                                IAW
 18 U.S.C. §§ 1347 and 2: Health Care Fraud                                                              03/12/2015
 18 U.S.C, §8 1347 and 2: Health Care Fraud                                                              03/19/2015
 18 U.S.C. §§ 1347 and 2: Health Care Fraud                                                              04/08/2015
 18 U.S.C. §§ 1347 and 2: Health Care Fraud                                                              04/21/2015
 18 U.S.C. §§ 1347 and 2: Health Care Fraud                                                              04/29/2015



The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 (1    The defendant has been found not guilty on count(s)
 (2    Count(s) C1 is      O   are dismissed on the motion of the United States

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                    December 4, 2024
                                                                    Date of Imposition of Judgment




                                                                    Signature of Judge

                                                                    BRANTLEY STARR
                                                                    UNITED STATES DISTRICT JUDGE
                                                                    Name and Title of Judge

                                                                           lais190a
                                                                    Date
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                                                                IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

Forty-Five (45) months as to count 1; Forty-Five (45) months as to count 2; Forty-Five (45) months as to count 3; Forty-Five (45)
months as to count 4; Forty-Five (45) months as to count 5; Forty-Five (45) months as to count 6; and Forty-Five (45) months as to
count 7. Counts 2 through 7 to run concurrently with the sentence imposed in count one for a total aggregrated sentence of Forty-five
(45) months.

          The court makes the following recommendations to the Bureau of Prisons:
            That the defendant be designated to a medical facility that can accommodate his medical needs, as close to North Texas.



     (1   The defendant is remanded to the custody of the United States Marshal.
     (The         defendant shall surrender to the United States Marshal for this district:

              Ol      at                                    O     am.           O   pm.       on

              1       as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                      before 2 p.m. on February 24, 2025.
              LJ      as notified by the United States Marshal.
              C1      as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
I have executed this judgment as follows:


            Defendant delivered on                                         to


at                                             , with a certified copy of this judgment.




                                                                                                      UNITED STATES MARSHAL


                                                                                                                By
                                                                                                   DEPUTY UNITED STATES MARSHAL
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                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : one (1) year on counts 1, 2, 3, 4, 5, 6
and 7, all to run concurrently with each other.



                                                MANDATORY              CONDITIONS

      You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             ((]_   The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
 4.   B      You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
             of restitution. (check if applicable)
      &      You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
      O      You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
             seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7,   €]     You must participate in an approved program for domestic violence. (check if applicable)


           You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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                                 STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10   !
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.                                                                                                    :
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction, The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS, probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at www.txnp.uscourts. gov.

 Defendant’s Signature                                                                              Date
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                                 SPECIAL CONDITIONS OF SUPERVISION

Pursuant to the Mandatory Victims Restitution Act of 1996, the defendant is ordered to pay restitution in the amount
of $7,096,231, to be paid jointly and severally with Jerry Hawrylak (02), and to be made payable to the U.S. District
Clerk, 1100 Commerce Street, Room           1452, Dallas, Texas 75242. Restitution shall be payable immediately and any
unpaid balance shall be payable during incarceration. Restitution shall be disbursed to:

                                                       TRICARE $7,096,231
                                                 Re: Case No, 3:19-CR-452-X;
                                               Brian Carpenter & Jerry Hawrylak

If upon commencement of the term of supervised release any part of the restitution remains unpaid, the defendant
shall make payments on such unpaid balance in monthly installments of not less than 10 percent of the defendant's
gross monthly income, or at a rate of not less than $50 per month, whichever is greater. Payment shall begin no later
than 60 days after the defendant's release from confinement and shall continue each month thereafter until the
balance is paid in full. In addition, at least 50 percent of the receipts received from gifts, tax returns, inheritances,
bonuses, lawsuit awards, and any other receipt of money shail be paid toward the unpaid balance within 15 days of
receipt. This payment plan shall not affect the ability of the United States to immediately collect payment in full
through garnishment, the Treasury Offset Program, the Inmate Financial Responsibility Program, the Federal Debt
Collection Procedures Act of 1990 or any other means available under federal or state law. Furthermore, it is ordered
that interest on the unpaid balance is waived pursuant to 18 U.S.C. § 3612(f)(3).

The defendant shall not be employed by, affiliated with, own or control, or otherwise participate, directly or
indirectly, in any business related to health care, including providing such care or billing for such care, without the
probation officer's approval.

The defendant shall pay any remaining balance of restitution in the amount of $7,096,231, as set out in this
Judgment.

The defendant shall provide to the probation officer any requested financial information.

The defendant shall refrain from incurring new credit charges or opening additional lines of credit without approval
of the probation officer unless the probation officer makes a determination that the defendant is in compliance with
the payment schedule.
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                                         CRIMINAL MONETARY                              PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments page.

                           Assessment              Restitution                   Fine       AVAA Assessment*                JVTA Assessment**
 TOTALS                        $700.00           $7,096,23 1.00                  $.00                          $.00

 (_    The determination of restitution is deferred until    An Amended Judgment in a Criminal Case (A0245C) will be entered
       after such determination.
       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C,
         § 3664(i), ali nonfederal victims must be paid before the United States is paid.

Restitution of $7,096,231.00, jointly and severally with co-defendant Jerry Hawrylak (3:19-cr-00452-2), to:

         TRICARE

 (2    Restitution amount ordered pursuant to plea agreement $
 (4 _ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(.         All of the payment options on the schedule of
       payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 I     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
              the interest requirement is waived for the          OO   fine                                  restitution
        (the      interest requirement for the                    (fine                               (__    restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L, No. 115-299,
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, L10A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A       §&    Lump sum payments of $700.00 due immediately, balance due

         (snot later than                                            , or

               in accordance               Oo      o¢,          Oo          #*OD,      Ol   &E,or        Dd     —-«F below; or

 B       [Payment        to begin immediately (may be combined with                    [    C,           G      Dor               {"]       F below); or

 C       ©)    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                                    (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment;
               or

 D       [7]   Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                               over a period of
                                 (e.g., months or years), to commence                            (e.g., 30 or 60 days) after release from
               imprisonment to a term of supervision; or

 E        &    Payment during the term of supervised release will commence within 60 days (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time;
               or

 F        &_   Special instructions regarding the payment of criminal monetary penalties:
               It is ordered that the Defendant shall pay to the United States a special assessment of $700.00 for Counts 1, 2, 3,
               4,5, 6 and 7, which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S, District
               Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  &      Joint and Several
         See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
         Several Amount, and corresponding payee, if appropriate.


         The defendant shall pay the cost of prosecution.
OOO




         The defendant shall pay the following court cost(s):
         The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine
principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court
costs.
